            Case 5:18-cr-00312-EJD Document 79 Filed 04/12/23 Page 1 of 1



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 3                                 UNITED STATES DISTRICT COURT
 4                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5                                           SAN JOSE DIVISION
 6

 7
     UNITED STATES,                                       Case No. 5:18-cr-00312 EJD
 8

 9                         Plaintiff,
                                                          [PROPOSED] ORDER TO CONTINUE
10                  v.                                    STATUS CONFERENCE
11
     XIAOLANG ZHANG,
12
                           Defendant.
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            GOOD CAUSE APPEARING, it is hereby ordered that the status conference regarding
16
     sentencing currently scheduled for April 17, 2023, be continued to July 24, 2023, at 1:30 p.m.
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19   Dated: April 12, 2023                          _______________________________________
                                                    The Hon. Edward J. Davila
20                                                  United States District Judge

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                              United States v. Xiaolang Zhang; Case No. 18-cr-00312-EJD
                             Stipulation and [Proposed] Order to Continue Status Conference
